                    5:17-bk-73105 Doc#: 1 Filed: 12/14/17 Entered: 12/14/17 08:10:48 Page 1 of 21

Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF ARKANSAS

Case number (if known)                                                        Chapter you are filing under:

                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                       Check if this an
                                                                                                                                  amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                              12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Larry                                                           Ladonna
     your government-issued        First name                                                      First name
     picture identification (for
     example, your driver's        J                                                               F
     license or passport).         Middle name                                                     Middle name
     Bring your picture
     identification to your
                                   Matlock                                                         Matlock
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                        Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years                                                                      Donna Matlock
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-6096                                                     xxx-xx-5665
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                             page 1
                 5:17-bk-73105 Doc#: 1 Filed: 12/14/17 Entered: 12/14/17 08:10:48 Page 2 of 21
Debtor 1   Larry J Matlock
Debtor 2   Ladonna F Matlock                                                                          Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 1225 E Lake Rd
                                 Springdale, AR 72762
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Washington
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
                5:17-bk-73105 Doc#: 1 Filed: 12/14/17 Entered: 12/14/17 08:10:48 Page 3 of 21
Debtor 1    Larry J Matlock
Debtor 2    Ladonna F Matlock                                                                             Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                         bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
                 5:17-bk-73105 Doc#: 1 Filed: 12/14/17 Entered: 12/14/17 08:10:48 Page 4 of 21
Debtor 1    Larry J Matlock
Debtor 2    Ladonna F Matlock                                                                              Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?

                                      Yes.     Name and location of business

     A sole proprietorship is a
     business you operate as                   Arkansas Rebate Realty
     an individual, and is not a               Name of business, if any
     separate legal entity such
     as a corporation,
                                               f/k/a Matlock Real Estate Services
     partnership, or LLC.
                                               1225 E Lake Rd
     If you have more than one                 Springdale, AR 72762
     sole proprietorship, use a
     separate sheet and attach                 Number, Street, City, State & ZIP Code
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
                 5:17-bk-73105 Doc#: 1 Filed: 12/14/17 Entered: 12/14/17 08:10:48 Page 5 of 21
Debtor 1    Larry J Matlock
Debtor 2    Ladonna F Matlock                                                                          Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
                5:17-bk-73105 Doc#: 1 Filed: 12/14/17 Entered: 12/14/17 08:10:48 Page 6 of 21
Debtor 1    Larry J Matlock
Debtor 2    Ladonna F Matlock                                                                             Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.

                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                                                                             $1,000,000,001 - $10 billion
    to be?                                                                           $10,000,001 - $50 million
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                    More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Larry J Matlock                                               /s/ Ladonna F Matlock
                                 Larry J Matlock                                                   Ladonna F Matlock
                                 Signature of Debtor 1                                             Signature of Debtor 2

                                 Executed on     December 14, 2017                                 Executed on     December 14, 2017
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
                5:17-bk-73105 Doc#: 1 Filed: 12/14/17 Entered: 12/14/17 08:10:48 Page 7 of 21
Debtor 1   Larry J Matlock
Debtor 2   Ladonna F Matlock                                                                              Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Todd F. Hertzberg                                              Date         December 14, 2017
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Todd F. Hertzberg 2008268
                                Printed name

                                Hertzberg Law Firm of Arkansas, P.A.
                                Firm name

                                4285 N. Shiloh Dr.,
                                Suite 108
                                Fayetteville, AR 72703
                                Number, Street, City, State & ZIP Code

                                Contact phone     479-422-7775                               Email address         toddhertzberg@yahoo.com
                                2008268
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
    5:17-bk-73105 Doc#: 1 Filed: 12/14/17 Entered: 12/14/17 08:10:48 Page 8 of 21


}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                        Equifax
                        PO Box 9701
                        Allen, TX 75013


                        Experian
                        PO Box 4500
                        Allen, TX 75013


                        Trans Union
                        PO Box 2000
                        Chester, PA 19022


                        Abacus CPAs (fka Dunton)
                        1835 Republic Rd, Ste 200
                        Springfield, MO 65804


                        Advance Pest Control
                        PO Box 1884
                        Springdale, AR 72765


                        Advanced Dermatology
                        1444 E Stearns, Ste 11
                        Fayetteville, AR 72703


                        AFNI
                        PO Box 3517
                        Bloomington, IL 61702


                        Air Control Corp
                        2114 Dime Dr
                        Springdale, AR 72764


                        AJ Discount Storage
                        4206 Elm Springs Rd
                        Springdale, AR 72762


                        Allied Interstate
                        3000 Corporate Exchange Dr
                        5th Floor
                        Columbus, OH 43231


                        Ally
                        PO Box 380902
                        Minneapolis, MN 55438
5:17-bk-73105 Doc#: 1 Filed: 12/14/17 Entered: 12/14/17 08:10:48 Page 9 of 21



                    American Express
                    PO Box 981535
                    El Paso, TX 79998


                    American Express
                    c/o Zwicker & Assoc.
                    80 Minuteman Rd
                    Andover, MA 01810


                    American Express
                    c/o Hood & Stacy
                    216 N Main St
                    Bentonville, AR 72712


                    American Express
                    c/o Zwicker & Assoc
                    80 Minuteman Rd
                    Andover, MA 01810


                    American Express
                    c/o James West
                    6380 Rogerdale Rd, Ste 130
                    Houston, TX 77072


                    American Express Travel
                    PO Box 981540
                    El Paso, TX 79998


                    American Honda Finance Corp
                    National Bankruptcy Center
                    PO Box 168088
                    Irving, TX 75016


                    Amsher Collection Services
                    600 Beacon Pkwy, Ste 300
                    Birmingham, AL 35209


                    AOL GPO
                    PO Box 65101
                    Sterling, VA 20165


                    AOL Member Services
                    PO Box 65110
                    Sterling, VA 20165
5:17-bk-73105 Doc#: 1 Filed: 12/14/17 Entered: 12/14/17 08:10:48 Page 10 of 21



                    APAC Arkansas
                    Arkhola Div
                    PO Box 1627
                    Fort Smith, AR 72902


                    APAC Arkansas
                    McClinton Anchor Div
                    PO Box 1367
                    Fayetteville, AR 72702


                    Apex Financial Mgmt
                    1120 W Lake Cook Rd, Ste A
                    Buffalo Grove, IL 60089


                    AR Dept of Finance & Admin
                    PO Box 3493
                    Little Rock, AR 72203


                    Arkansas Insulation
                    PO Box 582
                    Springdale, AR 72765


                    Associated Recovery
                    PO Box 469046
                    Escondido, CA 92046


                    Bank of America
                    PO Box 26249
                    Tampa, FL 33625


                    Bank of America
                    PO Box 15026
                    Wilmington, DE 19850


                    Bank of America
                    PO Box 1570
                    Wilmington, DE 19886


                    Bank of America
                    PO Box 15220
                    Wilmington, DE 19886
5:17-bk-73105 Doc#: 1 Filed: 12/14/17 Entered: 12/14/17 08:10:48 Page 11 of 21



                    Bank of America
                    c/o P. Scott Lowery P.C.
                    4500 Cherry Creek Dr S,Ste 700
                    Denver, CO 80246


                    Bank of America
                    c/o Firsel Law Group
                    PO Box 1599
                    Lombard, IL 60148


                    Bank of the Ozarks
                    PO Box 196
                    Ozark, AR 72949


                    Bank of the Ozarks
                    c/o Stephen Cobb
                    PO Box 2457
                    Little Rock, AR 72203


                    Boral Bricks
                    320 N Bloomington, St A
                    Lowell, AR 72745


                    Bradco Supply
                    418 S Bloomington St
                    Lowell, AR 72745


                    Cach LLC
                    PO Box 5980
                    Littleton, CO 80127


                    Capital One
                    PO Box 30285
                    Salt Lake City, UT 84130


                    Carpenter Construction Inc.
                    c/o Tad Carpenter
                    301 Steppes Ct
                    Weatherford, TX 76087


                    Cavalry Portfolio
                    PO Box 520
                    Valhalla, NY 10595
5:17-bk-73105 Doc#: 1 Filed: 12/14/17 Entered: 12/14/17 08:10:48 Page 12 of 21



                    Cavalry SPV II, LLC
                    500 Summit Lake Dr, Ste 400
                    Valhalla, NY 10595


                    CBE Group
                    1309 Technology Pkwy
                    Cedar Falls, IA 50613


                    Centurylink
                    PO Box 4300
                    Carol Stream, IL 60197


                    Centurylink
                    c/o Robinson, Reagan et al
                    260 Cumberland Bend
                    Nashville, TN 37228


                    Chase
                    PO Box 15298
                    Wilmington, DE 19850


                    Chev's Trucking
                    650 Ford Ln
                    Lowell, AR 72745


                    Chexsystems
                    Attn: Consumer Relations
                    7805 Hudson Rd, Ste 100
                    Saint Paul, MN 55125


                    Citi Cards
                    PO Box 6500
                    Sioux Falls, SD 57117


                    Citibank
                    PO Box 6500
                    Sioux Falls, SD 57117


                    CME Oil & Gas
                    c/o Carpenter Construction
                    301 Steppes Ct
                    Weatherford, TX 76087
5:17-bk-73105 Doc#: 1 Filed: 12/14/17 Entered: 12/14/17 08:10:48 Page 13 of 21



                    CME Quality Homes
                    c/o Carpenter Construction
                    301 Steppes Ct
                    Weatherford, TX 76087


                    Collins Custom Cabinets
                    515 N Old Wire Rd
                    Lowell, AR 72745


                    Convergent Outsourcing
                    PO Box 9004
                    Renton, WA 98057


                    Convergent Outsourcing
                    PO Box 9021
                    Renton, WA 98057


                    Cox Communications
                    6305 Peachtree Dunwoody Rd NE
                    Atlanta, GA 30328


                    Credit Control
                    245 E Roselawn, Ste 25
                    Saint Paul, MN 55117


                    Creditors Financial Group
                    PO Box 440290
                    Aurora, CO 80044


                    Danbury Mint
                    47 Richards Ave
                    Norwalk, CT 06857


                    Discover Bank
                    PO Box 30943
                    Salt Lake City, UT 84130


                    Discover Bank
                    c/o Southern, Allen, Withrow
                    PO Box 17248
                    Little Rock, AR 72222
5:17-bk-73105 Doc#: 1 Filed: 12/14/17 Entered: 12/14/17 08:10:48 Page 14 of 21



                    Discover Bank
                    c/o Eltman, Eltman & Cooper
                    140 Broadway, 26th Floor
                    New York, NY 10005


                    Dunton & Assoc (now Abacus)
                    1835 E Republic Rd, Ste 200
                    Springfield, MO 65804


                    Dynamic Recovery
                    PO Box 25759
                    Greenville, SC 29616


                    Encore Receivables Mgmt
                    PO Box 3330
                    Olathe, KS 66063


                    Ernest & Margaret Downum
                    6791 E Downum Rd
                    Springdale, AR 72762


                    Financial Recovery Services
                    PO Box 385908
                    Minneapolis, MN 55438


                    First Collection Services
                    10925 Otter Creek Rd E
                    Mabelvale, AR 72103


                    First National Bank of Rogers
                    c/o G. Nicholas Arnold
                    224 S 2nd St
                    Rogers, AR 72756


                    First National Bank of Rogers
                    Div of First Nat'l Bank Ft Smi
                    PO Box 7
                    Fort Smith, AR 72902


                    Foster's Roofing
                    3375 Wagon Wheel Rd
                    Springdale, AR 72762
5:17-bk-73105 Doc#: 1 Filed: 12/14/17 Entered: 12/14/17 08:10:48 Page 15 of 21



                    GE Money Bank
                    c/o Stephen Lamb
                    PO Box 1027
                    Beebe, AR 72012


                    GE Money Bank (American Eagle)
                    Bankruptcy Dept
                    PO Box 103104


                    GE Money Bank (Care Credit)
                    PO Box 981127
                    El Paso, TX 79998


                    GE Money Bank (Sams)
                    PO Box 981064
                    El Paso, TX 79998


                    Internal Revenue Service
                    PO Box 7346
                    Philadelphia, PA 19101


                    JC Christensen & Assoc
                    PO Box 519
                    Sauk Rapids, MN 56379


                    John & Yvonne Carpenter
                    1595 W County Line Rd
                    Springdale, AR 72762


                    Kimbel Plumbing
                    9310 E Wagon Wheel Rd
                    Springdale, AR 72762


                    Kohls
                    PO Box 3043
                    Milwaukee, WI 53201


                    Liberty Bank of Arkansas
                    c/o Jay Williams
                    100 W Main St
                    Gentry, AR 72734
5:17-bk-73105 Doc#: 1 Filed: 12/14/17 Entered: 12/14/17 08:10:48 Page 16 of 21



                    Liberty Bank of Arkansas
                    c/o Williams Law Firm
                    100 W Main St
                    Gentry, AR 72734


                    Liberty Bank of Arkansas
                    Now Centennial Bank
                    PO Box 966
                    Conway, AR 72033


                    MBI
                    47 Richards Ave
                    Norwalk, CT 06857


                    Meadowbrook Dev LLC
                    c/o Carpenter Construction
                    301 Steppes Ct
                    Weatherford, TX 76087


                    Mid America Accounts
                    PO Box 790
                    Joplin, MO 64802


                    Midland Credit Mgmt
                    2365 Northside Dr, Ste 300
                    San Diego, CA 92108


                    Mr. Cooper
                    PO Box 619094
                    Dallas, TX 75261


                    National Creditors Connection
                    14 Orchard Rd, Ste 200
                    Lake Forest, CA 92630


                    National Enterprise Sys
                    29125 Solon Rd
                    Solon, OH 44139


                    National Home Centers
                    c/o Donnie Rutledge
                    Lisle law Firm
                    1458 Plaza Pl, Ste 101
                    Springdale, AR 72764
5:17-bk-73105 Doc#: 1 Filed: 12/14/17 Entered: 12/14/17 08:10:48 Page 17 of 21



                    Nationwide Credit
                    2002 Summit Blvd, Ste 600
                    Atlanta, GA 30319


                    Nationwide Credit
                    2015 Vaughn Rd NW, Ste 400
                    Kennesaw, GA 30144


                    NCO
                    4740 Baxter Rd
                    Virginia Beach, VA 23462


                    NCO
                    507 Prudential Rd
                    Horsham, PA 19044


                    Northland Group
                    PO Box 390846
                    Minneapolis, MN 55439


                    Northstar Location Svcs
                    4285 Genesee St
                    Buffalo, NY 14225


                    Paragon Way
                    c/o Allied Interstate
                    3000 Corporate Exchange Dr
                    5th Floor
                    Columbus, OH 43231


                    Pinnacle Finance
                    c/o Hood & Stacy, P.A.
                    216 N Main St
                    Bentonville, AR 72712


                    Pinnacle Finance
                    9915 E Bell Rd, Ste 120
                    Scottsdale, AZ 85260


                    Pinnacle Finance
                    c/o Hood & Stacy
                    216 N Main
                    Bentonville, AR 72712
5:17-bk-73105 Doc#: 1 Filed: 12/14/17 Entered: 12/14/17 08:10:48 Page 18 of 21



                    Precision Recovery
                    c/o The McHughes Law Firm
                    PO Box 2180
                    Little Rock, AR 72201


                    Precision Recovery
                    c/o National Enterprise Sys
                    29125 Solon Rd
                    Solon, OH 44139


                    Proactiv Solution
                    PO Box 361448
                    Des Moines, IA 50336


                    Redline Recovery
                    11675 Rainwater Dr, Ste 350
                    Alpharetta, GA 30009


                    Resurgent Capital
                    PO Box 19034
                    Greenville, SC 29602


                    Sears
                    PO Box 6282
                    Sioux Falls, SD 57117


                    Sentry Credit
                    2809 Grand Ave
                    Everett, WA 98201


                    Shiloh Christian School
                    1707 Johnson Rd
                    Springdale, AR 72762


                    Southern Collection
                    PO Box 25006
                    Little Rock, AR 72221


                    Southwest Credit
                    4120 International Pkwy
                    Ste 1100
                    Carrollton, TX 75007
5:17-bk-73105 Doc#: 1 Filed: 12/14/17 Entered: 12/14/17 08:10:48 Page 19 of 21



                    Stellar Recovery
                    PO Box 48370
                    Jacksonville, FL 32247


                    Stellar Recovery Inc
                    1327 Highway 2 W
                    Ste 100
                    Kalispell, MT 59901


                    Stoneleigh Recovery
                    PO Box 1479
                    Lombard, IL 60148


                    Synchrony Bank (Sams)
                    Attn: Bankruptcy Dept
                    PO Box 965060
                    Orlando, FL 32896


                    Tad & Tracy Carpenter
                    301 Steppes Ct
                    Weatherford, TX 76087


                    TADS Tuition Aid Data Services
                    800 Washington Ave N, Ste 671
                    Minneapolis, MN 55401


                    Tate & Kirlin Assoc
                    2810 Southampton Rd
                    Philadelphia, PA 19154


                    Two State Sod
                    16153 US Hwy 271
                    Spiro, OK 74959


                    United Recovery Systems
                    5800 N Course Dr
                    Houston, TX 77072


                    Universal Fidelity
                    PO Box 941911
                    Houston, TX 77094
5:17-bk-73105 Doc#: 1 Filed: 12/14/17 Entered: 12/14/17 08:10:48 Page 20 of 21



                    University of Arkansas
                    Treasurer's Office
                    214 Arkansas Union
                    Fayetteville, AR 72701


                    Vantage Sourcing
                    328 Ross Clark Circle
                    Dothan, AL 36303


                    Verizon Wireless
                    1 Verizon Way
                    Basking Ridge, NJ 07920


                    Vision Financial
                    PO Box 800
                    Purchase, NY 10577


                    Vision Financial Corp
                    PO Box 460260
                    Saint Louis, MO 63146


                    Washington County Circuit Cour
                    CV10-1690-2
                    280 N College, Ste 302
                    Fayetteville, AR 72701


                    Washington County Circuit Cour
                    CV 12-961-2/CV-11-370-7
                    280 N College, Ste 302
                    Fayetteville, AR 72701


                    Washington County Circuit Cour
                    CV-2009-707-6
                    280 N College, Ste 302
                    Fayetteville, AR 72701


                    Washington County Circuit Cour
                    CIV-2009-1987-2
                    280 N College, Ste 302
                    Fayetteville, AR 72701


                    Washington County Circuit Cour
                    CV-11-370-7
                    280 N College, Ste 302
                    Fayetteville, AR 72701
5:17-bk-73105 Doc#: 1 Filed: 12/14/17 Entered: 12/14/17 08:10:48 Page 21 of 21



                    Washington Regional Legal Coll
                    PO Box 1887
                    Fayetteville, AR 72702


                    Washington Regional Medical Ct
                    3215 N Northhills Blvd
                    Fayetteville, AR 72703
